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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------X
BRYAN HENRY                                                    :

                          Plaintiff,                         :     ORDER
        -v.-                                                 :
                                                                   24 Civ. 1446 (GHW)(GWG)
MAJOR LEAGUE BASEBALL ADVANCED                               :
MEDIA, L.P.
                                                             :
                           Defendant.
---------------------------------------------------------------X
AARON GOLLAND et al.,                                          :

                          Plaintiffs,                        :

        -v.-                                                 :
                                                                   24 Civ. 6270 (GHW)(GWG)
MAJOR LEAGUE BASEBALL ADVANCED                               :
MEDIA, L.P.
                                                               :
                           Defendant.
---------------------------------------------------------------X
GABRIEL W. GORENSTEIN, UNITED STATES MAGISTRATE JUDGE

       On the issue of consolidation, the two cases overlap in significant ways. Indeed, it is
possible that the complaint filed in 24 Civ. 6270 may be duplicative of the complaint filed in 24
Civ. 1446 under the doctrine articulated in Sacerdote v. Cammack Larhette Advisors, LLC, 939
F.3d 498, 504 (2d Cir. 2019); accord Agra v. MIT, 2024 WL 4350872, at *8 (S.D.N.Y. Sept. 29,
2024). The Court does not reach this issue now, however, since it has not been the subject of a
motion by the defendant.

        Notwithstanding the overlap, the Court will not require the filing of a single complaint at
the present time. However, the Court hereby consolidates the cases pursuant to Fed. R. Civ. P.
42(a) for purposes of addressing the defendant’s arguments as to dismissal.1

        To allow for efficient consideration of the defendant’s arguments as to dismissal, the
pending motion to dismiss in 24 Civ. 1446 (Docket #26) is deemed withdrawn without prejudice.
On or before October 29, 2024, the defendant is shall file a motion to dismiss in each of the two
cases that is accompanied by an identical memorandum of law. That memorandum of law
should address both complaints in as efficient a manner as possible. For their opposition, the


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        Whether there should be consolidation for any other purposes in the future – should the
complaints survive the motion to dismiss – will be addressed following disposition of the
motions
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plaintiffs are strongly encouraged to file a single jointly-approved memorandum of law But if
that cannot be accomplished, the Court will accept separate memoranda of law.

        The briefing schedule on the defendants’ motions shall be in accordance with paragraph
2.B of the Court’s Individual Practices.

       SO ORDERED.

Dated: October 8, 2024
       New York, New York
